
651 So.2d 276 (1995)
Mrs. Rena HOGAN, Widow of Kenneth Leslie Hogan, and Pamela Hogan Phea, Laurie Hogan Carter and Lois Lynne Hogan, Daughters of Kenneth Leslie Hogan
v.
STATE FARM AUTOMOBILE INSURANCE COMPANY, Excalibur Insurance Company, Dairyland Insurance Company, Haynes &amp; Sons, Inc., the City of Slidell, Department of Transportation &amp; Development, State of Louisiana, Department of Highways, State of Louisiana and Oliver L. Owens.
No. 95-C-0215.
Supreme Court of Louisiana.
March 17, 1995.
*277 Denied.
JOHNSON, J., not on panel.
